Case 1:18-cv-05391-SCJ Document 172-8 Filed 12/17/19 Page 1of 2

EXHIBIT H
Case 1:18-cv-05391-SCJ Document 172-8 Filed 12/17/19 Page 2 of 2

12/17/2019 Fair Fight on Twitter: "BREAKING: Fair Fight Action filed an emergency motion in the United States District Court for the Northern Distri...

Fair Fight @ (fotow ) v
@fairfightaction NS. nee

BREAKING: Fair Fight Action filed an
emergency motion in the United States
District Court for the Northern District of
Georgia seeking to prevent the State of
Georgia from conducting an imminent
massive, illegal purge of voters from the
rolls. #gapol

FFA TRO 12.16.19.pdf
drive.google.com

7:12 AM - 16 Dec 2019

291 Retweets 575 likes PO QOGL COQ

© 10 TT) 291 575

Fair Fight @ @fairfightaction «23h Vv
Read the full brief here:

FFA Brief 12.16.19.pdf
drive.google.com

O 1 Tl 23 40

-. DonBrunetti @TenMonthBaby - 23h Vv

> Replying to @fairfightaction @danpfeiffer

Our family, instead of going to the Mall and buying Made in China crap that
nobody wants, are donating again this year to Causes we believe in. One of these
Causes will be Fair Fight 2020:

https://twitter.com/fairfightaction/status/1206592911359578114 1/7
